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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 FirstEnergy Pennsylvania Electric                 )    CASE NO. 1:24-CV-01687
 Company, d/b/a Metropolitan Edison                )
 Company, and FirstEnergy Services                 )    JUDGE JENNIFER P. WILSON
 Company                                           )
                                                   )
                        Plaintiffs,                )
                                                   )
        vs.                                        )    JOINT STATUS REPORT
                                                   )
 International Brotherhood of Electrical           )
 Workers, Local Union 777, AFL-CIO                 )
                                                   )
                        Defendant.                 )
                                                   )
                                                   )
                                                   )

       Plaintiffs FirstEnergy Pennsylvania Electric Company d/b/a Metropolitan Edison

Company and FirstEnergy Services Company, and Defendant International Brotherhood of

Electrical Workers, Local Union 777, AFL-CIO, by counsel, submit this Joint Status Report

pursuant to the Court’s January 2, 2025, Order [ECF No. 8].

       The Parties continue to engage in good-faith efforts to reach resolution of this matter

without further involvement of the Court. The continued stay of these proceedings will provide

the Parties the opportunity to maintain their negotiations towards extra-judicial resolution.
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Respectfully submitted,


 /s/ Mark E. Belland                            /s/ W. Eric Baisden
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 Attorney for Defendant International           Attorneys for Plaintiffs FirstEnergy
 Brotherhood of Electrical Workers, Local       Pennsylvania Electric Company, d/b/a
 Union 777, AFL-CIO                             Metropolitan Edison Company, and FirstEnergy
                                                Services Company




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing Joint Status Report was filed

electronically on March 3, 2025, in accordance with the Court’s Electronic Filing Guidelines.

Parties may access this filing through the Court’s Filing System.



                                             /s/ W. Eric Baisden
                                             One of the Attorneys for Plaintiffs FirstEnergy
                                             Pennsylvania Electric Company, d/b/a Metropolitan
                                             Edison Company, and FirstEnergy Services
                                             Company




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